Case 22-00055-ELG   Doc 71-1 Filed 04/13/22 Entered 04/13/22 23:24:08   Desc
                        Exhibit Exhibit A Page 1 of 3




                              EXHIBIT A
 Case 22-00055-ELG             Doc 71-1 Filed 04/13/22 Entered 04/13/22 23:24:08                            Desc
                                   Exhibit Exhibit A Page 2 of 3




                                 Irrevocable Standby Letter of Credit
                                       Draw Settlement Advice
                                Payment Value Date: Apr 6, 2022
                              Settlement Value Date: Apr 6, 2022




SCEACHPRINT@wellsfargo.com
vlad@enovational.com
ENOVATIONAL CORP.
1101 K STREET, SUITE 1010
WASHINGTON, DISTRICT OF COLUMBIA 20005-7004

Wells Fargo Bank, N.A. Standby Letter of Credit Number: Redacted563U

In Favor Of: TMG 1400 L STREET, LLC

Advice Number: ACTREF9947187




We have processed a payment on your behalf, and funds are now due under the above referenced Standby
Letter of Credit as detailed below:

       DRAW AMOUNT                           2,988,093.78
       DRAW FEES                                 1,530.00

         Total Payment Amount              $2,989,623.78

This form requires no signature.

Please direct any written correspondence or inquiries regarding this Letter of Credit, always quoting our
reference number, to Wells Fargo Bank, National Association, Attn: U.S. Standby Trade Services

 at either                                                          or
             794 Davis Street, 2nd Floor                                 401 N. Research Pkwy, 1st Floor
             MAC A0283-023,                                              MAC D4004-017,
             San Leandro, CA 94577-6922                                  WINSTON-SALEM, NC 27101-4157

  Phone inquiries regarding this credit should be directed to our Standby Customer Connection Professionals
              1-800-776-3862 Option 2                                   1-800-776-3862 Option 2
  (Hours of Operation: 8:00 a.m. PT to 5:00 p.m. PT)        (Hours of Operation: 8:00 a.m. EST to 5:00 p.m. EST)




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                                                  Page 1 of 2
 Case 22-00055-ELG                 Doc 71-1 Filed 04/13/22 Entered 04/13/22 23:24:08                            Desc
                                       Exhibit Exhibit A Page 3 of 3




                                       Irrevocable Standby Letter of Credit
                                              GL Settlement Advice
                                     Payment Value Date: Apr 6, 2022
                                  Settlement Value Date: Apr 6, 2022




Account Officer:
Jeanette Griffin
101 N Independence Mall E
PHILADELPHIA, Pennsylvania 19106
Y1372-03G




Wells Fargo Bank, N.A. Standby Letter of Credit Number:          Redacted 563U

For Applicant:     ENOVATIONAL CORP.

For Liability Party:     ENOVATIONAL CORP.

Advice Number:         ACTREF9947187




The entries referenced below are for the payment of a drawing against the above referenced Standby Letter of
Credit.
Debit/Credit            GL Code                       GL Account                        AU/RC                  Amount

Debit               FM - Draw - SBLC Receivable              3459                        0227019                $1,500.00
                                                        Redact




Debit               FM - Draw - SBLC Receivable              3459                        0227019                   $30.00
                                                        Redact




Debit               FM - Draw - SBLC Receivable              3459                        0227019             $2,988,093.78
                                                        Redact




Upon receipt of reimbursement from your customer, please credit GL Account 2803459 for the above
referenced AU quoting the Advice Number.

 Please direct any phone inquiries regarding this credit should be directed to our Standby Customer
 Connection Professionals
              1-800-776-3862 Option 2                                         1-800-776-3862 Option 2
  (Hours of Operation: 8:00 a.m. PT to 5:00 p.m. PT)              (Hours of Operation: 8:00 a.m. EST to 5:00 p.m. EST)




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